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____________________________________________________________________________
                                                 SO ORDERED,




                                                 Judge Jason D. Woodard
                                                 United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________


              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                CHAPTER 13 CASE NO.:

TAMATHA COX                                                      23-11057-JDW

 AGREED ORDER GRANTING MOTION TO EXTEND THE AUTOMATIC STAY

       THIS MATTER came before the Court on the Debtor’s Motion to Extend

the Automatic Stay (Dkt. #7) (the “Motion”) filed by the Debtor and the

Response to Motion to Extend Authomatic Stay (Dkt. #17) filed by Locke D.

Barkley, Chapter 13 Trustee (“the Trustee”). Upon agreement of the parties,

       IT IS ORDERED that:

       1.     The Motion shall be and is hereby granted. The automatic stay of

11 U.S.C. § 362(a) shall be and is hereby extended to all creditors.

       2.     Should the Debtor become sixty (60) days or more delinquent in

Chapter 13 plan payments, calculated from May 1, 2023, this case may be

dismissed by subsequent order without further notice or hearing.

       3.     Should Debtor remain current in scheduled plan payments for a

consecutive 12-month period commencing May 1, 2023 the strict compliance

provision in ¶2 shall be unenforceable thereafter.

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      4.    Should the present bankruptcy case be dismissed for any reason

during the 12-month period of May 1, 2023 through April 30, 2024, the Debtor

shall be prohibited from filing a bankruptcy case in this or any other

bankruptcy court for a period of 180 days pursuant to 11 U.S.C. § 109(g). This

provision shall be inapplicable from and after May 1, 2024.

                              ##END OF ORDER##

AGREED & APPROVED:

/s/ W. Jeffrey Collier
W. JEFFREY COLLIER – MSB#10645
ATTORNEY FOR TRUSTEE

/s/ Robert H. Lomenick, Jr.
ROBERT H. LOMENICK, JR.
ATTORNEY FOR DEBTOR




                                                               Prepared by:
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